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Citizenship Evidence Asservation

I, James-Delisco:Beeks, being of sound mind and lawful age do solemnly declare:

1. The Ist clause of the 14th Amendment states: “All persons born or naturalized in the United States,
and subject to the jurisdiction thereof, are citizens of the United States and the state wherein they
reside.”

2. The Ist clause of the 14th Amendment does not say: “All persons born or naturalized in the United
States, are subject to the jurisdiction thereof... .”

3. The Ist clause of the 14th Amendment contains two requirements for United States citizenship: (a)
that a person be born or naturalized in the United States and (b) that a person be subject to the
jurisdiction of the United States.

4. 1am not restricted by the 14 Amendment, because I receive no protection from it and I have no
reciprocal obligation to a 14* Amendment allegiance or sovereignty. Thus, I owe no obedience to
anyone under the 14* Amendment. United States v. Wong Kim Ark, 169 U.S. 649 (1898). Thus, I am
not “subject to the jurisdiction thereof... .”

5. The Department of State document, “Certificates of Non-Citizen Nationality,” located at
https://travel.state.gov/content/travel/en/legal/travel -legal-considerations/us-citizenship/Certificates-
Non-Citizen-Nationality.html says — in part — in the 3« paragraph: “Section 101(a)(21) of the INA
defines the term ‘national’ as ‘a person owing permanent allegiance to a state.” Section 101(a)(22) of
the INA provides that the term ‘national of the United States’ includes all U.S. citizens as well as
persons who, though not citizens of the United States, owe permanent allegiance to the United States
(non-citizen nationals).”

6. I, hereby, declare that I am a national but not a citizen of the United States.

7. This Asservation is submitted to rebut the fraudulent legal presumption legally and lawfully, that I am
a “citizen of the United States” under the scope and purview of the 14th Amendment's Federal
citizenship and that such Federal citizenship grants me “civil rights.”

8. Lam “non-resident” to the “residency” of the 14" Amendment and “alien” to the “citizenship” thereof,
therefore, I am not subject to the jurisdictional statements of the United States Code.

9. As the tax imposed in 26 U.S.C. 1, pursuant to 26 C.F.R. 1.1-1 is on “citizens” and “residents” as
contemplated in the 14" Amendment, it is not applicable to me, as | am neither a “citizen” nor a
“resident.”

a. Notwithstanding the fact that I may have, previously, filed U.S. Individual Income Tax Returns,

such filings were done by mistake as I was unaware that these filings were mandated only for citizens and

residents of the United States as contemplated by the 14th Amendment.

10. Furthermore, I am not a “resident” of any state under the 14" Amendment and hereby publicly

disavow any contract, form, agreement, application, certificate, license, permit, or other document that I

or any other person may have signed expressly or by acquiescence that would grant me any privileges and

thereby ascribe to me rights and duties under a substantive system of law other than the Constitutional

Contract of 1787 for the united states of America and of the constitutions for the several states of the

Union, exclusive of the 14* Amendment.

11. I reiterate that I have made the above determinations and made this declaration under no duress,

coercion, promise of reward or gain, or undue influence and of my own free will, with no mental

reservation and with no intent to evade any legal duty under the laws of the United States or any of the
several states.

12. At any time, I reserve the right to amend and correct wherever necessary or to rescind and revoke

this document.

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13. | invite any individual who has reason to believe that I am in error in my facts and conclusions
above to file an affidavit stating the contrary facts and conclusions, signed under penalty of perjury before
a person authorized by law to administer and witness an oath.

I declare, under penalty of perjury, under the laws of the United States of America, that the foregoing is
true and correct.

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FLORIDA NOTARIAL CERTIFICATE
(JURAT)

STATE OF FLORIDA
COUNTY OF SBYINOLE

Sworn to (or affirmed) and subscribed before me this (gh day of lan lary ,
20 2% , by James D. Becks (Name of Person Making Statement).

(Seal)

Signature’ of Notary Public

VW. FAL Aede
EZRA M. PALAFOX Print, Type or Stamp Name of Notary
Notary Public
State of Florida
Commit HH304997
Expires 8/24/2026

Personally Known:
OR Produced Identification:
Type of Identification Produced: FL PRiver C Licenfe

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